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 EEOC Form 5 (11 /09)
                                             EXHIBIT A EEOC Received On 02/14/2022
                        CHARGE OF DISCRIMINATION                                                          Charge Presented To:         Agency(ies) Charge No(s):
             This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                    Statement and other information before completing this form.
                                                                                                            I             ! FEPA
                                                                                                            I     X       I EEOC        563-2022-01253
                                                                                                                                                         and EEOC

 Name (indicate Mr., Ms., Mrs.)

 Leejamahl A Washington c/o Edelman, Liesen & Myers, L.L.P.
                                                                          State or local Agency, if any
                                                                                                                            Home Phone (Incl. Area
                                                                                                                           (816) 301-4056
                                                                                                                                                     I   Date of Birth



 Street Address                                                                  City, State and ZIP Code

208 W. Linwood Blvd.,                                         Kansas City, Missouri 64111

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                                       No. Employees,    Phone No. (Include Area
Unified Government of Wyandotte County/Kansas City, Kansas Fire Dept.                                                        Members                Code)

                                                                                                                              500+
Street Address                                                                  City, State and ZIP Code

701 N7th St                                                          Kansas City, Kansas 66101

DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                   DATE(S) DISCRIMINATION TOOK PLACE


  w       RACE          W    COLOR         □       SEX         □       RELIGION □ NATIONAL ORIGIN
                                                                                                                                Earliest             Latest

                                                                                                                                                         Present

   w
               D
               RETALIATION        □

                        OT>IER , _ ,
                                          AGE      □       DISABILITY          □ GENETIC INFORMATION

                                                                                                                             8       CONTINUING ACTION




THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):




        I, Leejamahl A Washington, bring this Charge of Discrimination against the Respondents-Unified

 Government of Wyandotte County/Kansas City, Kansas, the City of Kansas City, Kansas Fire Department.

             Unified Government of Wyandotte County/Kansas City (''UG"), is an employer within the meaning of

 the Kansas Act Against Discrimination (KSA § 44-1002(b)) and Title VII of the Civil Rights Act of 1964 (42

 U.S.C. § 2000e (b)). The Kansas and City of Kansas City, Kansas Fire Department ("Fire Department") is a

 department within the Respondent. It is my understanding that the Fire Department is not a separate entity

 against which a claim for discrimination may be brought, and that the UG is liable for any and all actions of

 the Fire Department and its officers or other leaders, as if those officers/leaders worked for the UG (which

they do).



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         The specific facts that give rise to my claims of race and color discrimination and retaliation are as

 follows:

         I am an African American man. I began working for the Unified Government of Wyandotte

 County/Kansas City, Kansas and the City of Kansas City, Kansas Fire Department in approximately 2001.

 During my employment with Respondent, I have witnessed a pattern and practice of African American

 employees being discriminated against and retaliated against. This includes moving black employees from

 station to station frequently instead of giving them a set station, preventing black employees from being

promoted, segregating black employees by station, and disciplining and terminating black employees for

things that white employees were not disciplined for.

        In 2002, within my first year on the job, I walked into the break room and observed other employees

wearing Nazi memorabilia with swastikas on it. I reported this to my captain at the time, but nothing was ever

done about it and no one was ever disciplined.

        Years later, I witnessed a noose in the fire station number 18. I reported this to Human Resources but

nothing was ever done about it. Throughout my years in the fire department, I have been threatened with

discipline and termination for things other employees who were white were not disciplined for or threatened

with discipline or termination for. During my tenure with the fire department, Chief John Paul Jones

disciplined and threatened to terminate me over a Facebook post that did not violate Respondent's Social

Media policy. He also had me moved to Station 10, which was known as the station where several other black

firefighters were sent. Station 10 was informally known as the "Black Fire Station" within the KCKFD. I was

also trained to work as a driver, which offered more pay, but he also took this away from me and told me I

was not allowed to fill in as a driver any longer. I complained to Human Resources and to the EEOC

numerous times about this treatment, but Respondent never did anything about it. Because of the stress and

anxiety of being discriminated against and retaliated against, I had to be prescribed medicine for stress and

anxiety for several years.




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         In April of 2021, I testified in the trial of another employee, Jyan Harris, who had been discriminated

 against because of his race and retaliated against after making complaints of discrimination. Following

 testimony in the case, a jury found that this employee was discriminated against and awarded him damages.

 After my testimony, I found that I was treated increasingly worse. I was moved from station to station

 frequently instead of being allowed to stay at my permanent station, number 16. Approximately eight out of

 every ten shifts I was sent to stations considered to be the stations for black firefighters, which was stations 10

 and 7. Being moved around daily is difficult for a firefighter and is in violation of Respondent's policies.

 Being moved means a firefighter never knows what to expect at work each day because each station has its

own procedures and rules. Moving a firefighter frequently prevents a firefighter, who is living at a station for

24-hour periods, from having consistency on the job, causes them to have to travel all of the time, pack up and

move their gear and bedding frequently, makes it unclear what bed they will be sleeping in every day and

prevents them from having the ability to make meaningful connections with the firefighters at their station.

Firefighters go through a bidding process for a station of their choosing and moving a firefighter circumvents

this process and causes a long-time firefighter, who has earned the right to choose his station, to be treated as

a new firefighter on the job. I did not see other white employees being moved around this way. I complained

to Human Resources about my treatment, but nothing ever happened and they never got back to me.

          On or about September 2, 2021, there was an incident between myself and Captain Blackwell (who

is white) over a light switch. Blackwell asked me to turn on the light switch and because I have some light

sensitivity to my eyes, I did not do this. Everyone knew I had this eye sensitivity and I had conversations with

Blackwell about this. I had the light off and Blackwell came in and turned it on. When he left the room, I

turned it off and he came back in and turned it on. Later, he stated he gave me a direct order to turn it on

(which was not the case), and he wrote me up for refusing a direct order and abusive language/conduct. I had

never seen any white employee written up for something so minor. I have frequently seen white employees

have disagreements or not do what a captain has said and not get written up.




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     While Blackwell was writing me up, another employee (who was white) heard Blackwell speaking to

acting battalion chief Chris Ruth (who was also white). Blackwell commented to Ruth that when Blackwell

wrote up the incident involving me, it did not sound that bad. Ruth responded, well put more in it then,

indicating that he should try to make the allegations against me sound as bad as possible, whether it was

truthful or not. Blackwell responded "he is going to feel the full wrath of Bill Blackwell." I believe he did this

and said these things because of my race and because of my prior complaints of discrimination and my

opposition to discrimination against others. On November 15, 2021, I was suspended without pay. I again

made complaints to Human Resources about this discrimination, but I never heard back from them. Following

my treatment by Respondents I again had to go on medicine for anxiety and depression.

       I believe I was discriminated against and suspended because of race and in retaliation for my

complaints about this discrimination and in retaliation of my opposing discrimination against others. As a

result of Respondents' actions, I am seeking back-pay, front-pay, emotional distress damages, punitive

damages, attorney's fees, and any other remedy the Commission deems appropriate.




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I want this charge filed with both the EEOC and the State or local Agency, if any. I   NOTARY - When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                            I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                 the best of my knowledge, information and belief.
                                                                                       SIGNATURE OF COMPLAINANT



                                                                                       SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                       (month, day, year)

           Date                              Charging Party Signature



EEOC Fonn 5 (11/09)




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